    Case 1:24-cr-00542-AS          Document 200         Filed 03/31/25      Page 1 of 2




                                      March 26, 2025

VIA EMAIL
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       Mr. Combs respectfully submits this additional letter to supplement his motion to
suppress evidence (ECF 159) and to alert this Court to additional recent disclosures by the
government. Mr. Combs apologizes for the serial filings, but these additional recent
disclosures contradict the government’s assertions in its opposition to his motion to
suppress (ECF 171).

        Mr. Combs’s motion noted that several of the alleged victims and other witnesses
had pursued civil claims against him and thus had motives to exaggerate or fabricate.
Although the government has an obligation to reveal information going to the credibility
of informants, the government’s warrant applications


        In its opposition to the motion to suppress, the government again claimed
ignorance. It argued that Combs had “not made any showing that the affiant was aware of
many of the alleged omitted financial motives.” (ECF 171 at 20.). More specifically, the
government asserted it “was not aware of
                               .” (Id; see also id. at 22 n.11). The government similarly
stated they were “not aware of                                                . As such, any
omission of this information clearly cannot satisfy the intent prong of the analysis.” (Id. at
n.11; see also id. at 29.)

      Once again, recently disclosed evidence contradicts these assertions. In early
March 2024, prior to the warrants on Mr. Combs’s person and homes,

                                                                                    . (See
Exhibit 38). Prior to seeking the challenged warrants, the government was thus clearly
aware of                                                                . The government’s
representation to the contrary in its opposition is flatly and demonstrably false.

       The government also recently disclosed additional 3500 material demonstrating
that government agents—including the warrant affiant himself—were in regular
    Case 1:24-cr-00542-AS        Document 200          Filed 03/31/25     Page 2 of 2

Hon. Arun Subramanian
March 26, 2025
Page 2 of 2

communication with both              and her attorney, and that it had a copy of
                                 (See Exhibit 39, Exhibit 40). Finally, recently disclosed
evidence also demonstrates that the government knew Victim-4 was
                     . (See Exhibit 41).

        In adjudicating Mr. Combs’s motion to suppress, this Court must determine whether
the warrant applications were intentionally and materially misleading. The Franks inquiry
is not limited to the affiant’s knowledge alone and instead is shaped by what the
investigative team knew, under the “collective knowledge” doctrine. See ECF 187 at 11
(citing authorities). The warrant applications were obviously reviewed and approved (if
not drafted) by the prosecutors, and anything they were aware of is attributed to the
government for purposes of Franks. It is troubling enough that the government’s
opposition to Mr. Combs’s motion was itself intentionally and materially misleading.

       Thank you for your consideration.

                                                Respectfully submitted,




                                                Marc Agnifilo
                                                Teny Geragos
                                                AGNIFILO INTRATER
                                                445 Park Ave., 7th Fl.
                                                New York, NY 10022
                                                646-205-4350
                                                marc@agilawgroup.com
                                                teny@agilawgroup.com

                                                Alexandra Shapiro
                                                Jason Driscoll
                                                Shapiro Arato Bach LLP
                                                1140 Avenue of the Americas, 17th Fl.
                                                New York, NY 10036
                                                (212) 257-4881
                                                ashapiro@shapiroarato.com
                                                jdriscoll@shapiroarato.com

                                                Anna Estevao
                                                SHER TREMONTE LLP
                                                90 Broad St., 23rd Fl.
                                                New York, NY 10004
                                                (212) 202-2600
                                                aestevao@shertremonte.com

                                            2
